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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


JONATHAN AVERY                                            8:23−cv−02071−CJC−DFM
                                        PLAINTIFF(S)

       v.
GLOBAL EXCHANGE VACATION CLUB , et al.

                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                     DEFENDANT(S).
                                                                ATTORNEY CASE OPENING




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Dated: November 7, 2023                    By: /s/ Jeannine Tillman jeannine_tillman@cacd.uscourts.gov
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